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 8                            UNITED STATES DISTRICT COURT
 9                      SOUTHERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,                    Case No. 3:18-cr-03677-W
12               Plaintiff,                       ORDER GRANTING JOINT
                                                  MOTION TO CONTINUE
13         V.                                     SENTENCING HEARING OF
                                                  DEFENDANT MARGARET E.
14 MARGARETE. HUNTER (2)                          HUNTER
15               Defendants.
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18         The Court has read and considered the Joint Motion to Continue the
19 Sentencing Hearing of Defendant Margaret Hunter, filed by the parties in this
20 matter on August 6, 2019. The Court hereby finds that the Motion, which this
21   Court incorporates by reference into this Order, provides good cause for a
22 continuance of the sentencing hearing of Ms. Hunter, which shall be scheduled for
23 December 2, 2019 at 9:00 a.m.
24         IT IS SO ORDERED.
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     DATED:          £/f ,2019             HON. THO   J. WHELAN
                                           UNITED sTAESD~RICT JUDGE
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                                              1                  Case No. 3:18-cr-03677-W
      ORDER GRANTING JOINT MOTION TO CONTINUE SENTENCING HEARING OF MARGARET HUNTER
